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                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION


    In re:                                                           Chapter 11

    VANGUARD HEALTH & WELLNESS,                                      Case No. 17-04707
    LLC,
                                                                     Hon. Jacqueline P. Cox
              Debtor                                                 Room 680




                        OBJECTION TO DEBTOR’S PROPOSED MODIFIED
                       PLAN OF REORGANIZATION FILED MARCH 8, 2018 1

             NOW COME Creditors, Tatyana Filek and Aleksandra Dubovik (collectively “Dubovik”),

by their attorneys, Devvrat Sinha, Ariel Weissberg and the law offices of Weissberg and

Associations, Ltd., and as Dubovik’s Objection to Debtor’s Proposed Modified Plan of

Reorganization filed on March 8, 2018, state as follows:

                                               I.       BACKGROUND

             1.     On April 6, 2015, Dubovik commenced an action in the Circuit Court of Cook

County captioned as, Dubovik v. Vanguard, Case No. 2015 L 3548, alleging breach of contract

and unjust enrichment counts against the Debtor and seeking $183,688.00 in damages. A copy of

the Complaint is attached hereto as Exhibit 1.

             2.     On May 16, 2016, Dubovik filed a Motion against the Debtor seeking sanctions for

fraud on the court based on falsifying evidence, lying under oath at the deposition, and submitting

falsified documents to the Court as evidence to support the Debtor’s claims. A copy of the Motion

for Sanctions is attached hereto as Exhibit 2.




1
    This Objection relates to the Fifth Modified Chapter 11 Plan of Reorganization, Dkt. No. 159.


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       3.      On September 7, 2016, after briefing was complete on the Motion for Sanctions

and the Court heard oral argument, the Court entered an Order granting Dubovik’s Motion for

Sanctions, and entered judgment in Dubovik’s favor and against the Debtor on all counts alleged

in the Complaint. A copy of this Order is attached hereto as Exhibit 3.

       4.      On November 17, 2016, following the submission of a prove-up affidavit relating

to the amount of damages, the Court entered Judgment in favor of Dubovik and against the Debtor

in the amount of $183,688.00. The court continued the case with respect to the counter-claim filed

by the Debtor against Dubovik. A copy of the November 17, 2016 Order is attached hereto as

Exhibit 4.

       5.      On January 17, 2017, the Court entered an Order granting Dubovik’s Motion for

Summary Judgment and entered judgment in favor of Dubovik and against the Debtor on the

Debtor’s counterclaim, leaving no further issues to be litigated in the lawsuit. A copy of this Order

is attached hereto as Exhibit 5.

       6.      On January 26, 2017, Dubovik issued a Citation to Discover Assets to the Debtor

pursuant to 735 ILCS 5-2-1401 to collect on the outstanding judgment amount. A copy of the

Citation to Discover Assets served to the Debtor is attached hereto as Exhibit 6.

       7.      On February 14, 2017, the Citation to Discover Assets was served upon the Debtor.

A copy of the Affidavit of Service of the Citation to Discover Assets is attached hereto as Exhibit

7.

       8.      On February 17, 2017, the Debtor commenced this bankruptcy case by filing a

voluntary chapter 11 case.

       9.      The Debtor listed Dubovik as an unsecured creditor in its Schedule E/F with a claim

amount of $183,688.00 (Dkt No. 1).




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       10.     On March 8, 2018, the Debtor filed its Modified Vanguard Health & Wellness’s

Plan of Reorganization Dated 3/8/2018 (“Plan” or “Plan of Reorganization”) and classified

Dubovik as a General Unsecured Creditor and proposed to distribute “10 cents on the dollar” for

unsecured creditors. (Dkt. No. 159).

                                          II. ARGUMENT

       The Proposed Plan violates 11 U.S.C. § 506, 11 U.S.C. § 1123(a), and 11 U.S.C. § 1129(a),

and cannot be confirmed without necessary modifications affording Dubovik better and more

appropriate terms of repayment.

A.     The Plan treats Dubovik as an unsecured creditor in violation of 11 U.S.C. § 506

       Under Illinois law, the service of a citation creates a statutory lien on all of the Debtor’s

personal property. See 735 ILCS 5/2-1402 (m). In this case, the citation was served on February

14, 2017, and upon service, a statutory lien arose binding “nonexempt personal property, including

money, choses in actions” and any other personal-property assets of the judgment debtor. See

Cacok v. Covington, 111 F.3d 52, 54 (7th Cir.1997) (the lien is considered perfected as of the date

the citation is served on the citation respondent.) Thus, when the Citation to Discover Assets was

served, Dubovik became a secured creditor under Illinois law.

       “Property interests are created and defined by state law.” Butner v. United States, 440 U.S.

48, 55, 99 S. Ct. 914, 918, 59 L. Ed. 2d 136 (U.S. 1979). Unless some federal interest requires a

different result, there is no reason why such interests should be analyzed differently simply because

an interested party is involved in a bankruptcy proceeding.” Id. Secured under state law pursuant

to 735 ILCS 5/2-1402 (m), Dubovik is a secured creditor under bankruptcy law.

       Further, Section 506 of the Bankruptcy Code provides that an “allowed claim of a creditor

secured by a lien on the property in which the estate has an interest . . . is a secured claim to the




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extent of the value of such creditor’s interest in the estate’s interest in such property. . .” 11 U.S.C.

§ 506(a). The Debtor admits that Dubovik is a judgment creditor in its Amended Disclosure

Statement (Dkt. No. 160, 1) and these creditors have a valid judgment lien on the Debtor’s

property; however, instead of following Section 506, the Debtor proposed in the Plan that Dubovik

will be treated as secured if she accepts the Plan but unsecured if rejects the plan. Such a

determination of whether a claim is secured or not has no foundation in bankruptcy law and is in

fact prohibited by Section 506.

B.         The Plan does not pass the best interest of creditor’s test under Section 1129(a)(7).

           Considering that Dubovik is voting against the proposed Chapter 11 Plan, the proposed

Plan of Reorganization proposes to pay Dubovik as a General Unsecured Creditor in Class 3(a) of

the Plan, which is afforded “10 cents on the dollar, in 60 equal monthly payments.” This amounts

to $18,368.00. Under Section 1129(a)(7), if the Debtor’s assets were to be liquidated in a Chapter

7 proceeding, Dubovik would receive more, as follows:

                    •   Total Assets: $568,946.42

                    •   Secured Creditor’s Recoveries: $470,000.00

                    •   Chapter 7 Trustee’s Fees: $25,000 2

                    •   Chapter 11 Administrative Expenses: $0.00 3

The amount available for distribution in a Chapter 7 case to Dubovik would be $73,945.42.00.

Accordingly, the $18,368.00 payment in the Proposed Plan violates the best interest of creditors

test.




2
    Dubovik questions the Disclosure Statement’s estimation of Chapter 7 trustee’s fees and expenses of $30,947.00.
3
    Dubovik’s claim as a secured creditor will get priority over Chapter 11 administrative expenses.


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C.     The Plan provides for a Discharge to the Debtor on the confirmation date, without
       even completing the Plan.
       Currently, Dubovik has a claim for $183,688.00. Under Article IX of the Plan, the Debtor

will receive a discharge of all claims besides the debts imposed by the Plan. Thus, the day the

plan is confirmed, Dubovik’s claim will arguably be limited to $18,368.00 and not $183,688.00.

Even if the Debtor completely fails to make any payment, it will use the Plan to argue that only

$18,368.00 is owed under the Plan. This is unjust and also fails to satisfy the best interest of

creditors test. In a Chapter 7 case, a corporation does not receive a discharge. The Debtor should

not receive a discharge in this case – especially not before completing the entirety of the Plan and

making all payments as they come due.

D.     Violation of Absolute Priority Rule

       Next, the Debtor’s Plan provides that the unsecured creditors will receive 10% (Article II,

para. 2.04, 3(a) of the Plan), but provides for the equity holders to maintain their equity interest

and receive funds before the unsecured creditors are paid in full. The Plan provides that Class 4,

the equity interests of the Debtor, shall receive no payment for the life of the Plan, or 60 months.

After the 60 months are over, however, the equity interests are free to obtain funds before

unsecured creditors are paid in full. The absolute priority rule “provides that a dissenting class of

unsecured creditors must be provided for in full before any junior class can receive or retain any

property [under a reorganization] plan.” Norwest Bank Worthington v. Ahlers, 485 U.S. 197, 202

(1988). Equity holders are a junior class to unsecured creditors, and thus, they can only be paid

when a dissenting class of unsecured creditors is provided in full. Dubovik’s claim should be

separately classified based on the reasons stated above, and when properly classified it is a

dissenting class that needs to be paid in full before the equity holders receive a distribution.

Accordingly, Debtor’s Plan should not be confirmed by this Court.



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         The Debtor attempts to cure this objection by stating that “new value” of $50,000.00 in

new capital to the operation of the Debtor in Possession will be provided by Michael Zayats and

Alexander Green. The Debtor cites to In re Ahlers, 794 F.2d 388 (8th Cir. 1986). However, the

Eighth Circuit was reversed by the Supreme Court in that case. Norwest Bank Worthington v.

Ahlers, 485 U.S. 197, 108 S. Ct. 963, 99 L. Ed. 2d 169 (1988) (“Absolute priority rule” provides

that dissenting class of unsecured creditors must be provided for in full before any junior class can

receive or retain any property under reorganization plan.”) Ahlers holds that the absolute priority

rule bars equity holders from retaining any property on account of their contribution of labor,

expertise and post-petition personal services. The Debtor, of course, is paying Zayats and Green

a salary post-petition (see Disclosure Statement, Dkt. No, 160, p.12) of $52,000.00 each, so these

contributions of post-petition personal services are not gratuitous. The Debtor, then, seems to

solely rely on the contribution of $50,000.00 from Zayats and Green to make an attempt at an

exception to the absolute priority rule. Again, such a contribution will not satisfy the absolute rule.

Bank of Am. Nat. Tr. & Sav. Ass'n v. 203 N. LaSalle St. P'ship, 526 U.S. 434, 457, 119 S. Ct. 1411,

1423, 143 L. Ed. 2d 607 (1999) (“Under a plan granting an exclusive right, making no provision

for competing bids or competing plans, any determination that the price was top dollar would

necessarily be made by a judge in bankruptcy court, whereas the best way to determine value is

exposure to a market.”) In a case arising out of a Chicago bankruptcy filing, the Supreme Court

held that when “old equity” has the exclusive right to retain equity and make a capital contribution

to allow it to get property before unsecured creditors are paid in full, the absolute priority rule is

not satisfied and the plan cannot be confirmed. Id. 4


4
  Of course, the absolute priority rule comes into play when there is an objecting class, and if better treatment were
provided to Dubovik, then the Debtor might be able to confirm a plan. This would at the very least require Zayats
and Green to make a larger contribution, treat Dubovik as a secured creditor and provide it with 35 percent of the
remaining claim.


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       For the reasons outlined above, Dubovik objects to the Proposed Plan, but will continue to

engage in negotiations with the Debtor to receive additional accommodations or a modified

treatment under the Plan to support a Plan of Reorganization that is a better compromise between

the creditors and the equity interests than the proposed Plan.

       WHEREFORE, Creditors, Tatyana Filek and Aleksandra Dubovik, pray that this Court

enter an Order providing the following: (i) the Debtor’s Proposed Plan of Reorganization is

unconfirmable under 11 U.S.C. § 1123(a)(1) and 11 U.S.C. § 1129(a)(1); (ii) the exclusivity period

is terminated and Dubovik is allowed to file a competing Plan of Reorganization; and (iii) for such

other relief as the Court deems just and proper.

                                      TATYANA FILEK and ALEKSANDRA DUBOVIK,
                                      Creditors


                                      By:    /s/ Devvrat Sinha
                                            One of their attorneys


Ariel Weissberg, Esq. (Attorney No. 03125591)
Rakesh Khanna, Esq. (Attorney No. 06243244)
Devvrat Sinha, Esq. (Attorney No. 6314007
Weissberg and Associates, Ltd.
401 S. LaSalle St., Suite 403
Chicago, IL 60605
T. 312-663-0004
F. 312-663-1514
Email: ariel@weissberglaw.com




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